Case: 5:25-cr-00347-DCN Doc #:1 Filed: 07/09/25 1 of 2. PagelD #: 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
) .
v. ) caseno.5 *29 CR 347
) Title 18, United States Code,
JORDAN A. GAZAFY, ) Sections 2252(a)(2) and
) 2252A(ayS\(B)
Defendant. JUDGE NUGENT

COUNT 1
(Receipt and Distribution of Visual Depictions of Real Minors Engaged in Sexually Explicit
Conduct, 18 U.S.C. § 2252(a)(2))

The Grand Jury charges:

1. From on or about January 23, 2024, through on or about April 7, 2025, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendant JORDAN A. GAZAFY,
did knowingly receive or distribute, using any means and facility of interstate and foreign
commerce, numerous computer files, which files contained visual depictions of real minors
engaged in sexually explicit conduct, and which files had been shipped and transported in and
affecting interstate and foreign commerce, as defined in Title 18, United States Code, Section
2256(2), in violation of Title 18, United States Code, Section 2252(a)(2).

COUNT 2
(Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)\(B))

The Grand Jury further charges:
2. On or about April 15, 2025, in the Northern District of Ohio, Eastern Division,

Defendant JORDAN A. GAZAFY, did knowingly possess an electronic device, including but
Case: 5:25-cr-00347-DCN Doc #:1 Filed: 07/09/25 2 of 2. PagelD #: 2

not limited to: a Western Digital HDD, SN: WKE1A79NXPZAH; a black desktop with storage

drive; and a Black Seagate Expansion Desktop, SN: NA8E9HCE; and other electronic devices,
that contained child pornography, as defined in Title 18, United States Code, Section 2256(8),
which child pornography had been shipped and transported in interstate and foreign commerce
by any means, including by computer, and at least one image involved in the offense involved a
prepubescent minor or a minor who had not attained 12 years of age, in violation of Title 18,

United States Code, Section 2252A(a)(5)(B).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
